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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- X

Clifford Eaton, Pro Se,

                                   Plaintiff,                                     20 CV 05928 (KMK)

                 -v-                                                             ORDER OF DISMISSAL


Capital One Bank (USA), N.A.,

                                   Defendant.
                                                                     X


KENNETH M. KARAS, United States District Judge:

        The Court having been advised that all claims asserted herein have been settled, it is
ORDERED that the above-entitled action be and is hereby dismissed and discontinued without
costs, and without prejudice to the right to reopen the action within sixty days of the date of this
Order if the settlement is not consummated.

       To be clear, any application to reopen must be filed within sixty days of this Order; any
application to reopen filed thereafter may be denied solely on that basis. Further, if the parties
wish for the Court to retain jurisdiction for the purposes of enforcing any settlement agreement,
they must submit the settlement agreement to the Court within the same sixty day period to be
"so ordered" by the Court. Per Paragraph 4(8) of the Court's Individual Rules and Practices for
Civil Cases, unless the Court orders otherwise, the Court will not retain jurisdiction to enforce a
settlement agreement unless it is made part of the public record.

        Any pending motions are denied. All conferences are vacated. The Clerk of Court is
directed to close the case.

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                                                                          KENNETH M. KARAS , U.S.D.J.


Dated: October 19, 2020
       White Plains, New York
